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 2                                                                   1/5/2021
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 8                          UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
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     SECURITIES AND EXCHANGE               )     Case No.: CV 14-07249-CJC(FFMx)
11                                         )
     COMMISSION,                           )
12                                         )
                                           )
13             Plaintiff,                  )
                                           )
14       v.                                )     ORDER APPROVING UNOPPOSED
                                           )     FINAL FEE APPLICATION OF THE
15                                         )     RECEIVER, AARON J. KUDLA OF
     NATIONWIDE AUTOMATED                  )     TRIGILD, INC., FOR PAYMENT OF
16   SYSTEMS, INC., JOEL GILLIS, and       )     FEES AND REIMBURSEMENT OF
     EDWARD WISHNER,                       )     EXPENSES [Dkt. 421]
17                                         )
                                           )
18
               Defendants,                 )
                                           )
19                                         )
     OASIS STUDIO RENTALS, LLC,            )
20                                         )
     OASIS STUDIO RENTALS #2, LLC,         )
21   and OASIS STUDIO RENTALS #3,          )
     LLC,                                  )
22                                         )
                                           )
23             Relief Defendants.          )
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24                                         )
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 1         The Court having reviewed the Final Fee Application, (Dkt. 421 [hereinafter
 2   “Application”]), of Receiver Aaron J. Kudla (“Receiver”), the Court-appointed
 3   permanent receiver for Defendant Nationwide Automated Systems, Inc. (“NASI”), Relief
 4   Defendants Oasis Studio Rentals, LLC, Oasis Studio Rentals #2, LLC, and Oasis Studio
 5   Rentals #3, LLC (“Relief Defendants”), and their subsidiaries and affiliates (collectively
 6   “Receivership Entities”), including any supporting declarations and objections filed
 7   therein, and being so advised in the matter and finding good cause, orders as follows:
 8

 9         The Receiver’s Application is GRANTED.
10

11         IT IS FURTHER ORDERED that the Receiver’s fees and costs for the April 1,
12   2020 through October 31, 2020 period are allowed and approved, on final a basis, in the
13   amount of $91,255 and $5,069, respectively;
14

15         IT IS FURTHER ORDERED that the Receiver’s twenty-two interim fee
16   applications filed by the former receiver and Receiver and the $3,662,739 ($3,520,411 of
17   fees and $142,328 of expenses) previously paid in connection with those applications are
18   approved on a final basis;
19

20         IT IS FURTHER ORDERED that the Receiver is authorized and directed to pay
21   fees held back from the twenty-two interim fee applications in the total amount of
22   $880,103; and
23

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26   ///
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 1         IT IS FURTHER ORDERED that the Receiver is authorized to pay up to
 2   $125,000 in fees and costs for remaining Receiver work to conclude the receivership.
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 5     DATED: January 5, 2021
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 7
                                              HON. CORMAC J. CARNEY
 8

 9                                         UNITED STATES DISTRICT JUDGE
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